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                        UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION
     ____________________________________________________________________

UNITED STATES OF AMERICA,

         Plaintiff,

v.                                                 Case No. 15-cr-20609

ROGER MAX AUSTIN,

     Defendant.
_________________________/

             ORDER REGARDING DEFENDANT’S SELF-REPRESENTATION

                                        1. Background

      On September 15, 2017, the court was first notified by Defendant that his “motion to

withdraw” his attorney, Michael McCarthy, was intended as a motion to represent

himself without counsel as allowed under the Sixth Amendment. Faretta v. California,

422 U.S. 806 (1975); McKaskle v. Wiggins, 465 U.S. 168, 170 (1984). The court was

dubious about the timing of the request but, upon a review of the cases speaking to the

issue, has concluded that the court cannot legitimately deny the Defendant’s motion. He

is badly misguided, the court thinks, but not incompetent. He is making a choice that is

unsound, the court believes, but not one that is impermissible. He seeks no upset or

delay in the court’s trial schedule, and does not present the request in a way that is

obviously frivolous.

      Defendant points without foundation to a mistrust of his attorney, which the court

finds, as noted below, is baseless and wilful. This, however, does not obviate the Sixth


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Amendment rights at issue.

                                         2. Standard

      When a defendant proposes to exercise his right to represent himself he must

   “knowingly and intelligently forgo[] his right to counsel and . . . [be] able and willing to

   abide by rules of procedure and courtroom protocol.” Id. at 173. At the September

   15 hearing and at a subsequent status conference on October 3, 2017, the court

   determined that Defendant had “knowingly and intelligently” waived his right to

   counsel.

      The court found, and reiterates here, that the Defendant was strongly cautioned

   against self-representation. Defendant was admonished that his review of discovery

   materials would very likely be difficult; he acknowledged all cautions and reaffirmed

   his desire for self-representation. Defendant was found to be sober, not laboring

   under any medical disabilities or conditions nor affected by any mental delusions; he

   expressed himself cogently, properly, and politely, and the court adjudged him

   competent and ready to proceed.

                                     3. Standby counsel

      The court finds that there is no disabling lack of communication or disability of the

   part of Mr. McCarthy, Defendant’s counsel of record over the past many months, but

   only a feigned disagreement about adjournments and provision of documents.

      Defendant expressed a lack of “trust” in counsel but gave no cogent reason

   beyond his disagreement with the attorney’s decision making. The court noted at the

   September 15 hearing, and reiterates here, that the Defendant is being wilful; he


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   does not present credible evidence showing any reason to support an actual

   breakdown in the attorney-client relationship. His complaints about Mr. McCarthy,

   which arose very early in McCarthy’s representation, are almost identical to the

   complaints he presented about his first court-appointed attorney Mr. Stabelein.

      There is no substantial reason that Mr. McCarthy should not serve as standby

   counsel, and adequately and professionally represent Defendant if needs be.

      The court therefore orders counsel of record to remain in place for the purpose of

   standing by and being available to provide legal assistance to Defendant upon

   request before trial from time to time, and during trial out of the presence of the jury

   as may be needed.

      In that regard, Defendant’s self-representation must be both actual and apparent

   from the perspective of the jury. Defendant will be able to discuss matters as needed

   during recesses; if Defendant needs an unscheduled recess to consult, he may so

   request by raising his hand and stating just “legal review” as the reason, the court

   will afford a brief recess. This recess procedure shall not be overused so as to

   inappropriately disrupt the trial process.

                                4. Principles and Cautions

      The court now sets forth some basic principles entailed within the right to self-

   representation. “Faretta . . . and later cases have made clear that the right of self-

   representation is not absolute.” Indiana v. Edwards, 554 U.S. 164, 171 (2008).

      a)      Dignity of the courtroom. Defendant is instructed that “[t]he right of self-

           representation is not a license to abuse the dignity of the courtroom. Neither


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           is it a license not to comply with relevant rules of procedural and substantive

           law.” Faretta, 422 U.S. 806, 834 n.46 (1975). Further, the right “can be lost

           by disruptive behavior during trial, constituting constructive waiver” because

           “deliberate dilatory or obstructive behavior may operate in effect as a waiver

           of his pro se rights.” United States v. Dougherty, 473 F.2d 1113, 1124-25

           (1972). Illinois v. Allen, 397 U.S. 337 (1970)).

      b)      Integrity of the trial process. As the Faretta Court recognized, “the trial

           judge may terminate self-representation by a defendant who deliberately

           engages in serious and obstructionist misconduct.” Faretta, 422 U.S. at 834

           n.46 (citing Illinois, 397 U.S. 337). “Even at the trial level . . . the

           government’s interest in ensuring the integrity and efficiency of the trial at

           times outweighs the defendant’s interest in acting as his own lawyer.”

           Martinez v. Court of Appeal of California, 528 U.S. 152, 162 (2000); see also

           generally Sell v. United States, 539 U.S. 166, 180 (2003) (“[T]he Government

           has a concomitant, constitutionally essential interest in assuring that the

           defendant’s trial is a fair one.”).

      c)      No instruction from the court is available. This court “is under no duty

           to provide personal instruction on courtroom procedure or to perform any

           legal ‘chores’ for the defendant that counsel would normally carry out.”

           Martinez, 528 U.S. at 162 (citing McKaskle, 465 U.S. at 183-84). Any

           Defendant proposing self-representation needs to educate himself on the

           Federal Rules of Criminal Procedure, the Federal Rules of Evidence, and the


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           Local Rules of this court. Additionally, Defendant will need to educate himself

           on proper courtroom decorum, including the basic principles of order and

           courtesy. A Defendant representing himself is not to unnecessarily interrupt

           Government’s counsel, witness testimony, or the trial itself (e.g., with

           excessive or frivolous requests for legal consultation per the procedure

           described in Section 3, above); nor will the court allow other counsel to

           unnecessarily interrupt Defendant or his presentation.

      d)      The court’s orders must be heeded. When the court speaks, Defendant

           must listen. When the court rules, Defendant must comply. He may preserve

           objections, but he must be prepared to move on after the court has ruled.

      e)      Defendant must remain at counsel table. As Defendant is in custody,

           his ability to move about the court will be limited. Defendant must administer

           witness questioning, and all comments and arguments from his position

           standing at counsel table, using the table microphone.

      f)      Standards already established govern. The court has issued orders in

           this case that will in pertinent part govern, including its ORDER AMENDING

           STANDING ORDER FOR DISCOVERY AND INSPECTION IN CRIMINAL

           CASES; AND GIVING NOTICE OF CERTAIN PRETRIAL AND TRIAL

           PRACTICES [Dkt #15]. The jury selection process is described therein. A

           copy of the order is attached to this Order.

      g)      The right to self-representation may be voluntarily abandoned. At

           some time in the future, the court anticipates that Defendant may find himself


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              overwhelmed, confused, or otherwise unable adequately to proceed without

              counsel, and in such event may seek the court’s order to again have the

              assistance of counsel. If the court agrees, the court will direct standby

              counsel to step forward and re-assume his management of the case without

              delay. If Defendant makes such a request, it shall constitute knowing and

              voluntary relinquishment of the right of self-representation, and Defendant will

              not thereafter be permitted to self-represent in this case.

         IT IS SO ORDERED.


                                                                  S/Robert H. Cleland
                                                                 ROBERT H. CLELAND
                                                                 UNITED STATES DISTRICT JUDGE
Dated: October 4, 2017

I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, October 4, 2017, by electronic and/or ordinary mail.

                                                                  S/Lisa Wagner
                                                                 Case Manager and Deputy Clerk
                                                                 (810) 292-6522

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